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uNiTED sTATEs oF AMERIcA WY\SH?{MH

Plaintiff
vs.

cR. No. 04-20291-0

cARLos WiLLiAMs

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause was set for a suppression hearing and a report date on August 24, 2005
and parties jointly requested a continuance to allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
Suppression Hearing and Report Date of Fridagrl October 14l 2005l at 2:00 p.m., in
Courtroom 3. 9th Floor of the Federal Building, lVlemphis, TN.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

lT lS SO ORDERED this¢?&w( day of August, 2005.

 

U lTED STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20291 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honcrable Bernice Donald
US DISTRICT COURT

